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                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                                CIVIL MINUTE ORDER

Case No.: 12-cv-04137-JCS               Case Name: Villalpando v. Exel Direct Inc.
Chief Magistrate Judge:                 Date: April 20, 2016        Time: 1 H 30 M
JOSEPH C. SPERO

Attorney for Plaintiff: Joshua Geoffrey Konecky, Nathan Piller
Attorney for Defendant: David Kadue, Christopher Crosman, Richard Lapp

 Deputy Clerk: Karen Hom                              Court Reporter: Joann Bryce

                                       PROCEEDINGS

1.    Plaintiffs' Motion to Exclude Speculative, Unsubstantiated & Legal Opinion Testimony of
     Jonathan Walker. Dkt 237 - Submitted

2. Defendants' Motion to Strike Expert Witnesses. Dkt 238 - Submitted

3. Further Case Management Conference - Held

                               ORDERED AFTER HEARING

Each side may have eight (8) motions in limine. If the parties require additional motions in
limine, they shall file a joint letter to the Court.

NOTES: The parties shall contact Judge Infante again.

CASE CONTINUED TO: 05/20/16 at 2:00 PM for a final pretrial conference.

REFERRALS:

[ ] Case referred to ADR for to occur within .
[ ] Case referred to (random) Magistrate Judge for a SETTLEMENT CONFERENCE to occur
within, or as is convenient to the judge's calendar.
[ ] Case referred to Magistrate Judge for a SETTLEMENT CONFERENCE to occur within or
as is convenient to the judge's calendar.

PRETRIAL SCHEDULE:
Initial Disclosures:
Number of Depos:
Discovery Cutoff:
Expert Disclosure:
Expert Rebuttal:
Expert Discovery Cutoff:
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Motions (Daubert) Hearing:         at 9:30 AM
Pretrial Conference:        at 2:00 PM
Trial:        at 8:30 AM for days [ ] Jury [ ] Court

Order to be prepared by:
[ ] Plaintiff    [ ] Defendant      [X] Court
cc:
